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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-81005-CV-MIDDLEBROOKS

  PATRICIA LISITANO, as Personal Representative
  of the Estate of Rosemarie Pulizzotto, Deceased,

          Plaintiff,
  v.

  JSMGV MANAGEMENT COMPANY, LLC,

        Defendant.
  ________________________________________/

       ORDER GRANTING MOTION TO STAY ENFORCEMENT OF REMAND ORDER

          THIS CAUSE comes before the Court upon Defendant’s Motion for Automatic 30-Day

  Stay of Enforcement of Court’s July 29, 2022 Remand Order (“Motion”), filed on August 4, 2022.

  (DE 7). I expedited the briefing schedule for this Motion (DE 9), which is now ripe (DE 11; DE

  12). For the reasons set forth below, the Motion is granted.

          Defendant requests that, pursuant to Federal Rule of Civil Procedure 62(a), the Court

  impose an automatic 30-day stay of enforcement of the July 29, 2022 Order Remanding Case (DE

  5), so Defendant may consider whether to pursue its appellate rights. See 28 U.S.C. § 1447(d)

  (orders remanding cases in which removal was pursuant to § 1442, federal officer removal, are

  appealable). Plaintiff does not oppose Defendant’s Motion (DE 11 at 1), and I find good cause to

  grant this unopposed relief.

          Plaintiff does, however, request that the Court sua sponte consolidate this action with

  another action that is presently stayed pending arbitration. (Id. at 2–3). Embedding a request for

  relief in a response to an unrelated motion is procedurally improper. See Fed. R. Civ. P. 7(b) (“A

  request for a court order must be made by motion”). Plaintiff explains that the reason she has
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  sought consolidation in this manner is because she cannot file a motion in either case given the

  present posture of the cases. (DE 11 at 3). But I fail to understand how this Court could take an

  action sua sponte that Plaintiff cannot properly raise in a procedurally appropriate way. Therefore,

  I will not entertain Plaintiff’s request to consolidate.

          It is hereby ORDERED and ADJUDGED that enforcement of the Court’s July 29, 2022

  Order Remanding Case (DE 5) is STAYED until August 29, 2022.

          SIGNED in Chambers at West Palm Beach, Florida this 11th day of August, 2022.




                                                               Donald M. Middlebrooks
                                                               United States District Judge

  cc:     Counsel of Record




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